Case 2: 04- -cv- -02019- BBD- dl<v Document 13 Filed 06/21/05 Page 1 of 2 PagelD 27
Fll.ED B'Y ____D,c;

|N THE UN|TED STATES DlSTR|CT COURTU$ JUN Zl AH 6- #3`
FOR THE WESTERN DlSTR|CT OF TENNESS§KE)
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wo oF r'N uEMPHis

 

LED|C REALTY SERV|CES, LTD.,
dlbla LED|C MANAGEMENT GROUP;
MEMPH|S 99 TOWER, L.P.,

Plaintiff, Case No.: 04-2019 D V
vs.
ROYAL SURPLUS L|NES lNSURANCE
COMPANY; THE HARTFORD STEAM
BOlLER |NSPECT|ON & lNSURANCE
COMPANY OF CONNECT|CUT,

Defendants.

 

ORDER OF DlSMlSSAL

 

lt appears to the Court that the parties, by and through their respective counsel,
have reached a consensual resolution of their claim.
|T |S THEREFORE ORDERED that the above cause be dismissed without prejudice

based upon the Notice of Settlement.

lT ls so oRDERED this / _7'¢` day of<Z:§[@& 2005.

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T‘nls document entered on the docket heat in compliance
with Rule 58 and/or 79(a) FFlCF’ on § gi 525

 

 

Notice cf Distributicn

This notice confirms a copy cf the document docketed as number 13 in
case 2:04-CV-02019 Was distributed by faX, mail, cr direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

